 4:06-cr-03128-WKU-DLP   Doc # 23   Filed: 10/20/06   Page 1 of 1 - Page ID # 31



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiffs,          )
                                     )                4:06CR3128
           v.                        )
                                     )
KATIE L. BOYSEN and                  )
ALICIA M. OLSEN,                     )                   ORDER
                                     )
                Defendants.          )
                                     )



     Trial as to the above defendants should have been set on the
same date, but trials were inadvertently set on different dates.

     IT THEREFORE HEREBY IS ORDERED,

     Trial as to both defendants will be held on December 18,
2006 for a duration of three trial days before the Honorable
Richard G. Kopf in Courtroom 1, United States Courthouse and
Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.
Jury selection will be held at commencement of trial.

     DATED this 20th day of October, 2006.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
